                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



UNITED STATES OF AMERICA,

               Plaintiff,

       vs.

                                                             Case No. CR2-07-005
STEVEN L. GRIFFIN,                                           JUDGE MARBLEY


               Defendant.


                      ORDER MODIFYING SUPERVISED RELEASE


       This matter came before the Court on October 21,2016 for Defendant Steven L. Griffin's

supervised release revocation hearing. For the reasons set forth on the record at the hearing, the

Court finds the Defendant's Supervised Release will NOT be Revoked, As a result of the

hearing, the Court further ORDERS: (1) that the defendant complete Twenty (20) hours of

community service,which will be waived only if the defendant maintainsemployment; (2) that

the defendant complete Ninety(90) daysof homeconfinement; (3) that the defendant pay the

cost of electronic monitoring; and (4) that the defendant provide access to all financial

doctiments to his U.S. Probation Officer.

       All previously imposed conditions shall remain in effect.

       IT IS SO ORDERED.



                                                  ALGENON L. MARBLE
                                                  United^tates^^tricfJudge


DATED: November 15,2016
